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Case 1:04-cv-00397-GBD-RLE Document 73 _ Filed 06/16/09 Pageiofi1

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June 11, 2009 ROBERT 8S. PARKER *

ROBERT J. SGROI t

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The Honorable Ronald L. Bilis. |} DOCUMENT MUN 42 2009

United States Magistrate Judge || ELECTRONICALLY FILED

Daniel Patrick Moynihan GOC #: rf

United States Courthouse ‘“OEITED- mat ee

500 Pearl $1, Room 1970 DATE PILED? Ve" O94

New York. NY 10007-1312

Re: Sokolow. etal. v. The Palestine Liberation Organization, et al.
No. 04-CV-00397(GBD)

Plaintiffs’ Request for Enlargement Until luesday, June 16, 2009 for to file reply
brief

Dear Judge Ellis:
We represent the Plaintiffs in this matter.
On June 8, 2009, Plaintiffs filed a motion to compel production. Dkt. 468.!

Defendants filed their response yesterday, Junc 10, 2009 at 5:14 p.m. Defendants
detailed 7 page response raises several issues which demands a thorough reply. Dkt. #70.

Pursuant to Local Rule 6.1(a). Plaintitfs’ reply memorandum “shall be served within one
business day afler service of the answering papers.” Adding three additional days for mailing
under the rules, the Plaintiffs’ reply is due Monday, June 15, 2009.

Due to previously scheduled family commitments and professional obligations (including
court appearances), Plaintiffs are in need of an enlargement until June 16, 2009 to file their reply.

Plaintiffs respectfully suggest that a sheht enlargement of time should not inconvenience
the Court or the Defendants. In light of the narrowing of the discovery issues contained in the
stipulation approved by the Court on May 13, 2009 (Dkt. #65). few discovery issues remain
outstanding and a small enlargement will not affect any other scheduled dates.

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' Counsel was notified by the Clerk’s office to relay REISTRATE . j G' ICON Ad Ped op RO cach

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and every Plainuff. Accordingly, the identical motion was refiled on June 9, 2 as Dkt. #69.

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